




DISMISSAL FORM FOR CIVIL CASES ON ANT'S MOTION /SETTLEMENT          




		NO. 12-00-00269-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS





§
	APPEAL FROM THE 402ND



IN THE INTEREST OF L.R.S., R.J.S.

AND J.M.S.,§
	JUDICIAL DISTRICT COURT OF

MINOR CHILDREN



§
	WOOD COUNTY, TEXAS







PER CURIAM


	Appellant has filed a motion to dismiss the appeal, and all other parties to the appeal have
been given notice of the filing of this motion.  Because Appellant has met the requirements of Tex.
R. App. P. 42.1(a)(2), the motion is granted, and the appeal is dismissed.	


Opinion delivered November 28, 2001.

Panel consisted of Davis, C.J., Worthen, J., and Griffith, J.













(DO NOT PUBLISH)



